                       EXECUTION PROCEDURES

                                      FOR

                            ELECTROCUTION

This manual contains a summary of the most significant events and departmental
procedures to be followed in the process of carrying out the orders of the Court
regarding the irnposition of death by electrocution. It contains a detailed listing of
some of the duties and responsibilities of certain key departmental personnel. In
addition, the manual covers institutional perimeter security prior to, during, and
subsequent to .an execution.          .

·It will be used as a guideline for the Warden to assure. that operational functions
 are properly planned with the staff whb have designated responsibilities m
 performing a judicially ordered execution by electrocution.


                        SECTION 7 (PERIMETER SECURITY) IS


                             CONFIDENTIAL
                         AND IS NOT FOR PUBLIC RELEASE.




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                                           INTRODUCTION




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 i.   :   .




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                        RIVERBEND MAXIMUM SECURITY INSTITUTION




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The Tennessee Department of Correction is responsible for the incarceratio'n of convicted
felons serving sentences ranging from one year to death. Individuals sentenced to death are
executed at .Riverbend Maximum Security Institution. Upon the exhaustion of an
individual's appeals, the execution process shall begin.

In the capacity as Commissioner, it. is my duty by law to oversee the. humane and
constitutional . execution of individuals sentenced to death by. judicial authority in
Tennessee. This manual explains the procedures for electrocution. It will be reviewed
annually, or as needed, by a designated panel.




                                                              ·Date




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                                         DEFINITIONS




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        .                   RIVERBEND MAXIMUM SECURITY INSTITUTION




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                                        DEFINITIONS
The definitions liste_d below only pertain to the Electrocution Process within this manual.

Amperage Meter           A device that measures the number of amperes in an electric current.
                         Seven (7) amps are used in the electrocution process.

Amp Clamp                A device used to verify whether or not there is an electrical current
                         going to the head piece of the electric chair during testing.

Death Watch              A period of time immediately prior to an execution during which
                         special procedures are implemented in order to ensure that the ·
                         execution is carried out in a safe and orderly manner.

Death Watch Area An area that includes the inmate's cell(s) contact and non-contact
                 visitation areas, the control room, and the secured monitoring area.

Electric Chair           The sitting apparatus in which the condemned inmate will be secured
                         for electrocution. The chair is fixed to the floor.

Electrical Console The unit used to administer electrical current to the electric chair.

Electrical Tester A device used during the testing process that verifies whether or not
Lead (s).        ..an electrical current can be detected at the head and ankle location of
                   the electric chair.

Electrical Utility       The room _located behind the Executioner's Room and where the
Room                           primary disconnect box is located.

Electrocution            A room located next to the Executioner's Room. It contains equipment
Storage Room             and materials used in the electrocution process.

Execution ChamberSee Diagram (page 10).

Execution Team           The Execution Team shall consist of: the Warden, Associate Warden of
                         Security, Executioner, . Extraction Team, Death Watch Team,
                         Electrocution Recorder, Facility Maintenance Supervisor, Assistant to
                         the Facility Maintenance Supervisor (electrician), ITS Security
                         Systems Technician(s), and Escort Officer(s).

Executioner's            A room where the Executioner activates the electric -chair at the
Room                     direction of the Warden.

Extraction Team          Execution Team members who. are responsible for the removal,
                         restraint, and movement of the inmate during the time of execution.




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                                    DEFINITIONS - CON'T

  Fuses                  An electrical safety device. Four (4) 100 amp fuses are used in the
                         electrocution process.

  Head Piece             A leather cranial cap lined with copper mesh inside. It connects to the
                         power cable in the head region.

 . High Voltage          A heavy duty gray cable used for transferring electrical current from
   Cable                 the transformer to the electric chair.

  Junction Box          · An enclosed and protected box inside which electrical circuits are
                          interconnected or branched for distribution. It is located at the rear of
                          the electric chair. The high voltage cable will be secured to this box .

 . Low Voltage           A black cable used to transfer electrical current from the electrical
   Cable                 console to the transformer.

  . Natural Sea          Sponges harvested from the ocean.
    Sponges

 . Primary Power         The primary source of electrical current for the Electrocution Process .
   Disconnect Box        It is a gray box located in the Electrical Utility Room.

 . Reserved Manual The device used as an electrical power source if there is. a malfunction
   Transformer     with the transformer. It is located in the storage room.

  Secondary Power The source of power from the Executioner's Room. This provides
  Disconnect Box  eleCtricity for the electrical console, transformer, amp meter, and
                  electric chair.

  Shroud                 A piece of cloth or leather used to cover the condemned inmate's face
                         during electrocution.

·.. Sodium Chloride      Common table salt .. It is used in saturation of the natural sea sponges.

  Test Load Box          A device that electrically simulates. an inmate's body for test purposes.

  Transformer            A device that.transfers electrical energy from one alternating circuit to
                         another with a change in voltage, current, phase, or impedance.

  Voltage Meter            A.device on the transfor~er that measures that amount of voltage
                           used in the electrocution process.  1,750 volts are used in the
                        .. electrocution process.




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  · Note:    Whenever the masculine pronoun is used in this manual, it applies
             equally to a female.




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                                          DUTIES OF MANAGEMENT AND ADMINISTRATIVE
                                                         PERSONNEL




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                                      RIVERBEND MAXIMUM SECURITY INSTITUTION




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          RIVERBEND MAXIMUM SECURITY INSTITUTION
                       PERSONNEL




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                                          WARDEN

Primary Role

To ensure that the procedures prescribed by law and as outlined in this operating procedure
are performed, either by personal performance or by delegation.

Duties:

    1.     To ensure that the security of the institution is maintained.

  · 2.     To ensure condemned inmates sentenced prior to January 1, 1999 are given the
           opportunity to select electrocution or lethal injection as a legal means of execution
           at least 30 days before the execution.

  · 3.    ·To explain to the inmate the procedures and activities which will take place
           during Death Watch.

   4.      To control any contact between the condemned inmate and other persons.

   5.      To coordinate· the notification of official witnesses of the date and time to be at the
           institution to witness the scheduled execution.

   6.      To coordinate the appointment of execution team staff member(s).

   7.      To select a person to serve as Executioner.

   8.      To set the precise hour and minute of execution, subject to approval of the
           Commissioner and the Department's General Counsel.

   9.     . To arrange for presence of a physician to carry out functions set forth on Page 20.

    10.    To coordinate with the Medical Examiner for disposition of the body.

    11.    To keep the Commissioner, Deputy Commissioner of Operations and Assistant
           Commissioner of Prisons informed of the: progress towards and implementation of
           the execution.

    12.    To control activation of closed ci.rcuit TV to the victim family witness room.

    13.    To order the Executioner, either verbally or by gesture, to proceed with execution.

    14.    To cause the announcement to significant parties and the public of the fact that
           the sentence of execution has bee'n carried out.




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                      ASSOCIATE WARDEN OF SECURITY
Primary Role .

Assist the Warden in performing execution procedures and substitute for the Warden if he
is unable to perform his duties.

Duties:

    1.    . To ensure the security of the condemned inmate.

    2.    To supervise preparation of the Death Watch cell area, Execution Chamber, and
          the condemned inmate for execution.

    3.    To·coordinate and/or approve, with ·assistance by assigned security staff, visits and
          phone calls permitted to the condemned inmate.

    4·_   To provide the final inspection of restraint devices to ensure the condemned
          inmate is secure in the chair.

    5.    To ensure that any blinds between the witness room and the Execution Chamber
          are closed prior to the witnesses entering· and opened after the witnesses are
          seated..

    6.    To supervise the removal of the body from the .Execution Chamber.

    7.    To coordinate the release of the co:U:demned inmate's body to the authorized
          recipient or coordinate· burial at State expense in the event no one claims the body.




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                        ELECTROCUTION RECORDER
Primary Role

Assist the Warden in carrying out his duties.

Duties:

    1.    To coordinate and supervise the movement of the Execution Team to and from the
          Execution Chamber, and aid in maintaining the team's anonymity.

   2.     To process applications for the selection of news media representatives to attend
          executions.

   3. .   To complete the Electrocution Chronological Execution Report and Execution
          Recorder Checklist.




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                          DEATHWATCH SUPERVISOR
Primary Role

To coordinate all security requirements for the inmate during the Death Watch and to
supervise all correctional officers assigned any responsibilities for direct supervision of the
inmate during Death Watch, including preparation of the condemned inmate.

Duties:

    1.     To prepare a duty schedule for officers assigned this detail.

    2.     .To review post orders for correctional officers· and to become familiar with all
            functions of subordinates.

    3.     To ensure that the condemned inmate personally inventories his personal property
           and packs away all items he is not permitted to retain. The Death Watch
           Supervisor, inmate, and one witness will sign property inventory. The sealed
           property will be retained in storage in the Property Room until removed by
           inmate's designee.

    4.     To maintain a bound ledger of information relitted to Death Watch associated
           activities. This log will contain a record of all visitors, meals served, shaving,
           handling of mail, inmate behavior, movement, communications, etc.

    5.     To permit only authorized persons to enter the Death Watch area. The Warden
           will provide a list of authorized personnel.

   6.      To maintain a sufficient amount.of clothing in the inmate's size in order to provide
           a change of clothing each time the inmate leaves the cell; The Death Watch
           Officers will have custody of the clothing to be stored.

    7. ·   To ensure that cellular· phones, cameras, audio, and video equipment are not taken
           into the Death Watch area or the Execution Chamber at any time during Death
           Watch or at the time of execution, unless authorized by the Warden.

    8.     To coordinate movement of witnesses entering and exiting witness rooms during
           the execution process.

   9. ·    To activate and deactivate the closed circuit TV and audio speaker systems at.the
           prescribed times during the execution process.

  10.      To ensure . the events· pertaining to the execution are documented - by the
           Electrocution Recorder on the Electrocution Chronological Execution Report and
           Execution Recorder Checklist.




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                          INSTITUTIONAL CHAPLAIN
Primary Role

To offer and deliver chaplaincy services to the condemned inmate and the inmate's family
as needed.

Duties:

    L     To ask the inmate to specify in writing tlie preferred funeral arrangements and
          the preferred recipients of personal property. If a legal will is requested, the
          Chaplain will coordinate with the TDOC Staff Attorney.

   2.     To say a brief prayer of intercession immediately prior to execution (if requested).

   3. ·   To assist in the· release of the executed inmate's body to the authorized next-of-kin
          recipient or mortician through the State Medical Examiner.




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                  ITS SECURITY SYSTEMS TECHNICIANS
Primary Role

To ensure that the closed circuit television and the audio systems between the Execution
Chamber and witness room(s) are functioning properly at the scheduled time of execution.




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                                       PHYSICIAN
. Physician's Primary Role

To pronounce death.

Duties:

    1.    To be present at the precise time of execution in the capital punishment garage.

    2.    To examine the body for vital signs five minutes after the electrical current ceases.

    3.    To notify the Warden if the inmate is not legally dead.

    4.    To pronounce death if no vital signs are detected.




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                      FACILITY MAINTENANCE SUPEJRVISOR
Primary Role

To assure that the electrical apparatus for execution is properly maintained in working
order.

Duties:
                )
    1. To conduct quarterly and pre-execution tests of the electric chair.

   2. To mix sodium chloride solution.

   3. To fully saturate natural sponges in sodium chloride solution.

   4. To remain in the Execution Chamber and to connect and disconnect the power
      supply to the electric chair at the direction of the Warden.




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ASSISTANT TO THE FACILITY MAINTENANCE SUPERVISOR
Primary Role

To assist the Facility Maintenance Supervisor with his duties.

Duties:

    1. To assist with the testing of the electric chair quarterly and pre-execution.

   2. To assist with mixing the sodium chloride solution.

   3. To assist with the saturation of the natural sponges,

   4.. To ensure that the necessary fuses are in place prior to the activation of the
      · electrical console.                     ·

   5. To remain on standby in the electrical utility room during the activation of the
      electrical console ..




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                              EXTRACTION TEAM
Primary Role

To escort. and secure the condemned inmate during the execution process.




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                             ESCORT OFFICER(S)
Primary Role

To accompany and guide witnesses during the execution process.




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                      CENTRAL OFFICE PERSONNEL




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                                 COMMISSIONER
Primary Role

To oversee the administration of judicial executions in Tennessee.

Duties:

    1.    Approximately ten minutes prior to the time scheduled for the execution, the
          Commissioner will establish telephone contact with the Tennessee Highway Patrol
          Officer on duty at the Executive Residence.

    2.    To communicate to the Warden any circumstances that could alter or delay the ·
          execution.

    3.    To arrange for or mandate an Employee Assistance Program (EAP) debriefing as
          needed.




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               DEPUTY COMMISSIONER OF OPERATIONS
Primary Role

To work directly with the Commissioner and perform any assigned duties.




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                ASSISTANT COMMISSIONER OF PRISONS
Primary Role

To be stationed at the Command Post or location designated by the Commissioner.

Duties:

    1.    To serve as liaison to all support units and to conduct an operational debriefing of
          all security and procedural personnel after the execution.

    2.    To maintain telephone and/or radio contact with the Warden and other personnel.

    3.    To coordinate with the Metropolitan Nashville Police Department and Tennessee
          Highway Patrol and any additional security forces required.




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                      DIRECTOR OF COMMUNICATIONS
                         AND PUBLIC RELATIONS
Primary Role

To coordinate all media operations associated with the execution.

Duties:

    l.    To provide assistance to the Warden m obtaining telephone communications
          needed by media representatives.

   2.     To coordinate all visits by media representatives ho.th prior to and subsequent to
          an execution_

  . 3.    To notify the media of the witness lottery by faxing an advisory to the Associated
          Press.

   4.     To attend the media drawing held at RMSI and send out a notification to the
          Associated Press regarding who was selected.

   5.     To compile a press kit including guidelines, specifics of the case for which the
          inmate is being executed, and other related policies and statutes needed for the
          execution.

   6.     To communicate with .the Governor's communication staff about who will be
          available tO address media inquiries.

   7.     To coordinate with the Governor's Director of Communications any press releases
          and public messages.

   8.     To establish a contact sheet with names, assigriments, and contact numbers of
          each Public Information Officer involved. The Warden will be issued a copy.

   9.     To coordinate. with the Facility Maintenance Supervisor to ·create a staging area
          with a podium for news briefings.

    10. .To establish   aschedule for news briefings.




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         DIRECTOR OF THE OFFICE OF INVESTIGATION AND
                         COMPLIANCE
Primary Role

To coordinate all external security and tactical activities associated with the execution.

Duties:

    1.    No less than a week before the execution, schedule a security' meeting with
          participating external agencies.

    2.    Coordinate security assignments with participating external agencies.

    3.    In consultation with the Assistant Commissioner of Prisons, coordinate tactical
          activities as necessary.

   4.     To work with the Escort Officer(s) in accompanying witnesses.·




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                      DIRECTOR OF VICTIM SERVICES
Primary Role

To wol'k with victims, family members, and other interested parties involved in the
execution process.

Duties:

    1.    To confirm the list of individuals registered for notification.

    2.    To mail execution notification letters and packets.

    3.    To work closely with the victim liaison from the Attorney General's office.

    4.    To work with the Escort Officer(s) in accompanying witnesses.




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                                    SELECTION AND TRAINING OF STAFF




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                                RIVERBEND MAXIMUM SECURITY INSTITUTION




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         EXECUTION TEAM MEMBER SELECTION CRITERIA
                      ·ELECTROCUTION
Certain persons are members of the Execution Team by virtue of their official position (i.e.
Warden, Associate Warden of Security). The Warden selects the remaining team and
considers at minimum the following general criteria for other members:

    1.    Length of service.

    2.   Ability to maintain confidentiality.

    3.    Maturity.

   4.     Willingness to participate.

    5.    Satisfactory work performance.

   6.     Professionalism.

    7.    Staff recommendations to the Warden.

   8.     Review of personnel files by the Warden prior to selection.


The following positions on the Execution Team are specialized and have specific
requirements:

    1. ·Facility Maintenance Supervisor     A person knowledgeable of the institution's
                                            physical plant and equipment.

   2. Assistant(s) to the Facility          A person knowledgeable of the institution's
      Maintenance Supervisor                physical plant and equipment.

   3. ITS Security Systems                  Must be an Information Resource Support
      Technician(s)                         Specialist 3 or above with audio/visual
                                            experience.




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                TRAINING OF EXECUTION TEAM MEMBERS

Execution Team

The Execution Team shall consist of: the Warden, Associate Warden of Security,
Executioner, Extraction Team, Death Watch Team, Electrocution Recorder, Facility
Maintenance Supervisor, Assistant to the Facility Maintenance Supervisor, ITS Security
Systems Technician (s), and Escort Officer(s).

Training

    1. All Execution Team members must read the Electrocution Execution Manual when
       they become members of the Execution Team. Additionally, the Warden.or designee
       holds a class during which the manual is reviewed and clearly understood by all
       participants. At least annually, the Warden or designee holds an Execution Manual
       review class for all members of the Execution Team.              ·

    2. The· Execution Team simulates Day 3 (Execution Day) of the Death Watch
        Procedures and the steps outlined in Section 4 for approximately one at least (1)
        hour quarterly. Additional training is held within two weeks before a scheduled
        execution. A training record is maintain.ed to document all staff members who
       ·participate in the training.

         The· simulation includes all steps of the execution process with the following
         exceptions:

                  A       Volunteers play the roles of the condemned inmate and physician.
                  B.      Sponges are not saturated with sodium chloride.
                  C.      Electrical current is not activated when a volunteer is secured in the
                          chair.
                  D.      A body is not placed in the body bag.

    4. All training that occurs is documented. The documentation includes the times and
       dates of the training, the participants, and the training content.




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   PREPARATION AND PROCEDURES OF ACCOUNTABILITY
Electric Chair - Testing and Modification

The electric chair is inspected and tested quarterly along with the simulated electrocution
exercise. It is also inspected and tested within two weeks before a scheduled electrocution. A
log will be used to document the inspection and testing which includes the date and who
inspected/tested the equipment. The Warden is responsible for maintaining testing and
inspection records.

Equipment Used

1. Electrical Tester Lead(s)
2. Amp Clamp
3. Test Load Box
4. Transformer
5. Electric Console
6. Amperage Meter
7. High voltage gray cable
8. Low voltage black cable
9. Four 100 amp fuses
10. Head piece and ankle electrodes
11. Specially Designed Chair

Testing Procedures

     1. ·The Facility Maintenance Supervisor and his assistant will remove the high and low
         voltage .cables from the storage_ room. The low voltage black cable will be securely
         connected between the transformer and the electrical console. The high voltage gray
         cable will only be connected to the transformer and pulled through a hole in the
         wall that allows it to lie in the Execution Chamber near the electric chair. Make
         certain that the se_condary power disconnect box is. "OFF" before connecting the
         cables.

     2. Once the cables are in place, the assistant will go to the electrical utility room and
        open the primary power disconnect box. The assistant will place two (2) 100 amp
        fuses in the appropriate slots, close the box, and move the lever to the "on" position.
        The assistant will go to the Executioner's Room and open the secondary power·
        disconnect box. The assistant will place two (2) 100 amp fuses in the appropriate
        slots and close the box. Leave the disconnect on the "OFF" position.

     3. The Facility Maintenance Supervisor will place the Test Load Box in the seat o( the
        chair. A tester lead will be connected from the head power cable to the Load Box.
        Another tester lead will be connected from the ankle region to the Test Load Box.
        An amp clamp will be placed on the power cable leading to the head piece.

     4. Once these devices .are in place, the Facility Maintenance Supervisor will connect
        the high voltage gray cable to the junction box at the direction of the Warden. The
        Warden will instruct the assistant or volunteer employee to follow the steps outlined


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       in "PROCEDURES FOR THE USAGE OF THE ELECTRIC CHAIR FROM THE
       EXECUTIONER'S ROOM."

   5. While the electric chair is activated, the Facility Maintenance Supervisor and his
      assistant will assure that the designated voltage (1,750) and amps (7) are being
      delivered.

   6. After the electrical console has run the timed cycle, the electrical current will be
      deactivated and the equipment disassembled in accordance with "POST-
      EXECUTION-BREAKDOWN" instructions.

Modification

In the unlikely event that a modification to the electric chair is deemed prudent, a
documentation log will be kept for the record. The log would include the date, the nature
of/reason for the modification, who did the modification, and any accompanying paperwork.
The Warden will maintain and secure the documentation log.




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                         PROFESSIONAL OVERSIGHT
A licensed professional electrical engineer will be present during all electrocutions.




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                        TDOC ELECTRIC CHAIR




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            SODIUM CHLORIDE SOLUTION PREPARATION

  1. The sodium chloride solution is mixed using five (5) gallons of water at room
     temperature. Up to 128 ounces of iodized table salt is slowly added to the water and .
     mixed continuously until the water will not absorb any more salt. Maximum
     absorption is observed when the salt will no longer dissolve in the water and collects
     at the bottom of the container.

 2. Using natural sea sponges, prepare two five-sponge sets for a total of ten sponges (2
    head and 8 ankle). Soak the natural sea sponges in the salt brine solution.



        THE DRY SPONGES WILL BE NO LESS THAN ONE                (1)   INCH THICK




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         PRE-EXECUTION ELECTROCUTION PREPARATION
Prior to the condemned inmate entering the Execution Chamber, the following shall occur:

   1.     The Facility Maintenance Supervisor will set the container of sodium chloride
          saturated natural sponges and rubber mats in the Execution Chamber. The
          sodium chloride solution will be mixed with tap water and maintained at room
          temperature.

   2.     The Warden will issue the. key to the electrical console to the Executioner.

   3.     The Facility Maintenance Supervisor and his assistant will remove the high and
          low voltage cables from the storage room. The Facility Maintenance Supervisor
          will make certain that the secondary disconnect is in the "OFF" position before
          connecting the cables.

   4.      The low voltage black cable will be securely connected between the transformer
         · and the electrical console.

   5.     The high voltage gray cable will only be connected to the transformer and pulled
          through a hole in the wall that allows it to lie in the Execution Chamber near the
          electric chair.

   6.     Once the cables are in place, the assistant will go to the electri.cal utility room and
          open the primary power disconnect box. The assistant will place two (2) 100 amp
          fuses in the appropriate slots, close the box, and move the lever to the "on"
          position.

         An electrical current is now actively going into the Executioner's Room.

   7.     Next, the assistant will go to the Executioner's Room and open the secondary
          power disconnect box. The assistant will make certain that the secondary power
          disconnect box is in the "OFF" position. The assistant will place two (2) 100 amp
          fuses in the appropriate slots. Using a voltage meter, he ensures electricity is
          available. He closes the box.

   8.     Once the assistant completes his preparation, he will wait in the electrical utility
          room until the execution is over. ·

   9.     The Facility Maintenance Supervisor will be stationed in the Execution Chamber
          while the inmate is being escorted into the Execution Chamber and restrained in
          the electric chair.

   10.    At the direction of the Warden, the Facility Maintenan~e Supervisor w.ill connect
          the high voltage gray cable to the junction box on the electric chair. The Facility .
          Maintenance Supervisor will remain in the. Execution Chamber.            .




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       REAR OF ELECTRIC CHAIR                          JUNCTION BOX




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                       POWER CABLE TO HEAD PIECE




                      POWER CABLES TO ANKLE REGION



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     PROCEDURES FOR THE USE OF THE ELECTRIC CHAIR
            FROM THE EXECUTIONER'S ROOM
After the Facility Maintenance Supervisor has connected the high voltage cable to the
junction box, the Executioner shall conduct the following steps at the Warden's direction:

    1. Move the secondary power disconnect box lever to the "on" position. Labeled #1

    2. Turn on the exhaust fan switch that is located on the wall adjacent to the secondary
       power disconnect box. Labeled #2

    3. Place the key into the electrical console panel in the slot Labeled #3 and turn it to
       the "on" position. The "Electric Chair Energized" light should be "on".

    4. Remove the key from #3 and place it in the slot Labeled #4 and turn it to the "on"
       position.

    5. Next, remove the key and place it in the slot Labeled #5 and turn it to the "on"
       position. Leave the key in this slot. This slot is the "Fail-safe".

       The Electrical Console is now fully prepared for activation.

        The Electrical .Console is designed to deliver 1,750 volts at 7 amps to the
       .electric chair in a 20 second time cycle, disengage for 15 seconds, and re-
        engage for 15 seconds.

   6. Press the "Single" button on the Electrical Console to. deliver electrical current to the
      electric chair. Labeled #6

    7. Monitor the voltage and amp meters to ensure that the electric current is being
       delivered at the designated levels .

  . 8. Disengage the electrical console panel by turning slots 5, 4, and 3 into the "OFF"
       position. It must be turned off in this order. Switch the secondary power disconnect
       to the "OFF" position.

       The physician cannot examine the inmate .until the secondary power
       disconnect box is "OFF". There is a 5 minute waiting period. Close blinds
       and disconnect grey high voltage cable. The physician will enter the
       Execution Chamber and verify wheth.er the condemned inmate is deceased.

   9. The exhaust fan will remain on.




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      ELECTROCUTION EQUIPMENT IN THE EXECUTIONER'S
                         ROOM




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     . ELECTRICAL CONSOLE PANEL FOR ELECTROCUTION




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                      POST-EXECUTION - BREAKDOWN

The following actions will occur after death has been pronounced and the witnesses have
exited:

1. The assistant to the Facility Maintenance Supervisor will turn off the primary power
   disconnect box in the electrical utility room to ensure there is no active electrical
   current.

2. The assistant will remove the two (2) 100 amp fuses from the slot positions and place
   them in the bottom of the primary power disconnect box, unless replacement fuses are
   necessary.

3. The assistant will go to the Executioner's Room and remove the two (2) 100 amp fuses
   from the slot positions and place them in the bottom of the secondary power discon,nect
   box, unless replacement fuses are necessary.

4. The Facility Maintenance Supervisor and the assistant will remove the high and low
   voltage cables and place them in the storage room.

5. The container of.sodium chloride will be disposed of and the unused sponges and rubber
   mats will be placed in the storage room.                            ·

6. T_he Execution Chamber, the Executioner's Room, and the Witness Room(s) will be
   cleaned and restored to original condition.




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                                    DEATH WATCH PROCEDURES
                                         ELECTROCUTION




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                            RIVERBEND MAXIMUM SECURITY INSTITUTION




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     STAFJF RESPONSIBILITIES AND SPECIAL PROCEDURES
               FOR INMATES ON DEATH WATCH

Purpose:        The purpose of this op.erating procedure is to designate staff responsibilities
                and establish uniform property, privileges, and institutional guidelines for
                condemned inmates with signed court orders for execution.
Application: All inmates who have exhausted all appeals available to them and have an
             execution date within the next four days.
1.      Housing and Security Assignments
       A. The inmate is transferred to Building 8 (Capital Punishment) three (3) days
          prior to the scheduled execution.   -,

        B .. Correctional officers are assigned to the housing area in a manner consistent
             with TDOC Policy #506.16.2, which sets forth the guidelines for the Death Watch
             Supervisor.

2.     Middle Tennessee Institutional Notification and Advisement of Law Enforcement
       Agencies

       Upon determination of the .execution date and time, the Commissioner, Director of
       Communications and Community Relations, Deputy Commissioner qf Operations,
       Assistant Commissioner of Prisons, Correctional Administrator, Correctional
       Program Director, Wardens of Tennessee Prison for Women, Deberry Special Needs
       Facility and Turney Center may.be advised by Riverbend's Warden or his designee ..
       Should circumstances develop which necessitate it, tactical activities are coordinated·
       by .the Director of Investigation and Compliance after conferring with the Assistant
       Commissioner of Prisons. ·Formulation of secu.rity personnel is at the discretion of
       the Assistant Commissioner of Prisons.

3.     State-Issued Property and Possession Limit
       The inmate is allowed only the items listed below. Any other item is considered
       contraband and confiscated in accordance with institutional policy.

       A.      Standard issue of outer clothing
       B.      One bed
       C.      One mattress, pillow, and standard issue of linens
       D.      Orie toothbrush·
       E.      One tube of toothpaste
       F.      One bar of soap
       G.      One electric razor (to be issued and used under direct supervision only)
       H.      Two towels, one washcloth ·                    ·
       I.      Two pairs of.shorts and t-shirts (male inmates). Two pairs of panties and
               bras (female inmates). Underwear will be exchanged daily.
       J.      Toilet tissue as needed
       K.      Stationery '- 12 sheets, 3 stamped envelopes, 3 pencils. Pencils will be in
               possession of officer when not in use.


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         L.     Religious material as issued by institutional chaplain
         M.     Legal documents, books and papers as requested
         N.     Medication prescribed by the institutional doctor (to be issued and used
                under direct supervision only)
         0.     One walkman type radio (state owned)
         P.     One television outside door in front of cell (state owned)
         Q.     Newspapers as requested and available (no more than two in cell at a time)
         R.     Feminine hygiene items as necessary and appropriate

4.       Commissary Privileges

         The inmate has commissary privileges with purchasing and possession limits
         specified in post orders. Glass, aerosol, and metal containers are not allowed during
         the final days of pre-execution monitoring.

5.       Disposition of Unauthorized or Contraband Items

         Contraband items found in the possession of condemned inmates are confiscated and
         disposed of in accordance with institutional Policy #506.15. l.

6.       Package Permits

         Package permit privileges are suspended for inmates on Death Watch. Any package
         already mailed is received and stored with the inmate's other property.

7.      Library, Legal Library Services, Periodical Subscriptions

        A.      The condemned inmate may request legal materials from the law library in
                writing.   Such materials are carefully inspected by the Death Watch
               ·Supervisor. There will be no exchanges of communication with inmate legal
                clerks and the condemned inmate.

        B.      The inmate may continue to receive periodical subscriptions, but may· not
                o.rder new subscriptions. Periodicals, newspapers, etc., are allowed to
                accumulate during the final week. Only two periodicals and two newspapers
                may be retained by the inmate.

8.      Diet

        Three (3) meals per. day are fed to all condemned inmates, except holidays and
        weekends, which will be two meals just as general population. Special dietary
        instructions for religious/medical reasons are followed.

9.      Recreation

        Recreational activities for inmates on Death Watch are suspended,

10;     Television and Radio Privileges



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         Television and radio privileges are the same as routinely provided, except that
         during the Death Watch period, the television is located outside the inmate's cell.

11.      Personal and Legal Phone Calls

         The inmate may make unlimited calls to anyone on his pre-approved telephone list.
         He may make and receive phone calls to legal counsel without restriction.


12.     Visitation Privileges

        A.      Social

                1.       Only those individuals on the inmate's approved visiting list are
                         allowed visits during the Death Watch.

                2.       All visits are held in the Death Watch area, and physical contact
                         between the visitor(s) and inmate is not permitted. Visits are between
                         the hours of 9:00 am and 3:00 pm, and limited to two hours duration.

                3.       The number of visitors allowed to visit at any one time is as flexible as
                         circumstances permi.t, and is at the discretion of the Associate Warden
                         of Security.

                4.       A final .visit, during which physical contact between the inmate and
                         immediate family is permitted, may .be authorized by the Warden. The
                         Warden's decision is based on the individual circumstances of each
                         case.

                         a.     Security procedures, including searches, are of the mimmum
                                deemed necessary by the Associate Warden of Security.

                         b.     Contact visits are supervised by no fewer than two correctional
                                officers chosen by the Death Watch Supervisor with the
                                concurrence of the Associate Warden of Security.

        B.      Religious

                1.       Priest(s) or ministers of recognized religious faiths may visit the
                         inmate .in the same manner as provided for social visits in 12 (A).

                2.       A final visit by the inmate's priest, minister, or spiritual advisor may
                         be permitted by the Warden between 3:00 pm - 5:00 pm, prior to the
                         execution. This visit takes place at the front of the inmate's cell.

                         a.     The priest, minister, or spiritual advisor may not accompany
                                the inmate into the Execution Chamber..
                         b.     At the inmate's request·, a staff chaplain may visit on request
                                and/or accompany the inmate into the Execution Chamber.


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        C.      Legal Services

                1.     The attorney of record or other Tennessee licensed attorney
                       representing the inmate may visit up to one (1) hour before the time of
                       execution.

                2.     The attorney is permitted telephone contact with the condemned
                       inmate during the last hour prior to execution.

                3.     Visits with attorneys are non-contact and are conducted with
                       provision for the privacy of verbal exchange but under full and
                       continuous observation by at least two correctional officers.


        D.     Media

                L      No media interviews are held with ·the condemned after placement on
                       Death Watch.

               2.      Telephone interviews with media representatives are not permitted.

                3.    . Representatives of.the news media are not allowed inside the
                        secure perimeter of the institution during the time of active
                        Death Watch or during an execution for any purpose
                        whatsoever, unless selected as a witness to the execution.




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                                  EXECUTION TEAM
1.      The purpose of this operating procedure is to outline the duties and responsibilities
        of the Execution Team members in carrying out the death sentence by electrocution.

2.      The Execution Team shall consist of: the Warden, Associate Warden of Security,
        Executioner, Extraction Team, Death Watch Team, Electrocution Recorder, Facility
        Maintenance Supervisor, Assistant to the Facility Maintenance Supervisor, ITS
        Security Systems Technician(s), and Escort Officer(s). The identity of the Execution
        Team is confidential.

3.      Readily available to the Execution Team are radios with holster, keys, and
        restraints.

4.      The following procedures shall apply:

        A.     The Execution Team's Officer in Charge and/or the Assistant Officer in
               Charge conducts a training session at least each quarter at which time all
               appliances and the electric chair will be tested. The training includes a
               simulated execution.

        B.     A week before a scheduled exe·cution, the Officer in Charge and Assistant
               assembles the Execution Team in the Execution Chamber area to prepare
               and test all appliances and the electric chair for the scheduled execution.

        C. .    ·The Warden ensures that the Execution Team carries out the following·
               · instructions:

                1.    Assemble all other members of the Execution Team in the Execution
                      Chamber before the scheduled execution and review their specific
                      assignments and duties.

               2.     Ensure that all equipment is properly placed.

               3.     The inmate is removed from the hplding cell and placed in the
                      Execution Chamber by the Extraction Team members previously
                      assigned those duties, under the direction of the Assistant Officer in
                      Charge.

                4.    When the condemned inmate is secured in place in the Execution
                      Chamber, all members of the Extraction Team will retire to the holding
                      cell area.

                5.    When · the electrocution      process    has    been   completed,   the
                      Warden/designee is advised.

               6.     After the physician pronounces the inmate deceased, the designee
                      informs the Commissioner that the sentence has been carried out.



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                7.    The body is removed and placed in a body bag by the Execution Team
                      and Medical Examiner's staff.

                8.    The body is placed in the Medical Examiner's vehicle.

                9.    The Execution Team, under the direction of the Officer in Charge,
                      cleans the equipment and Death Watch area. The holding cell is cleaned
                      thoroughly with the mattress and pillow sanitized. Equipment shall be
                      stored in its proper location. An entry is made in the post log
                      documenting the completion of these procedures.

                10.   The Execution Chamber and Death Watch area are secured. The
                      Execution Team reports to the Warden's Office for additional
                      instructions.




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                                   DEATH WATCH SUPERVISOR
 1.       The duties and responsibilities of this post are that of observation and supervision of
          all activities concerning a condemned inmate(s) during pre-execution (Death Watch)
          monitoring. The post is the entrance area leading into the Death Watch area. The
          Death Watch Supervisor assumes authority of all personnel assigned to pre-
          execution monitoring (Death Watch). The duties are the general supervision and
          control of other security personnel assigned to monitor the condemned inmate
          during the time under Death Watch to include preparation of the condemned
          inmate(s) prior to execution. There may be one Floor Officer per shift assigned.

 2.       This officer must be a Correctional Lieutenant or higher. The officer reports directly
          to the Warden or Associate Warden of Security. During off-duty hours, he will
          remain on standby status unless relieved by another Lieutenant or Captain upon
          orders of the Warden or Associate Warden of Security.

.3.       Equipment needed: radio with holster, keys, restraints, and stab-resistant vest.

· 4.      Specific duties and responsibilities

          A.     Immediate Action

                        Upon notification of the assignment (normally when a Death Watch
                        reaches active stage), the Death Watch Supervisor prepares to assume
                        the duty schedule reflected above.

                 2.     He reviews the post orders for the Control Officer and Floor Officer
                        and becomes familiar with all functions of subordinates.

                 3.     He ensures that the condemned inmate, upon reaching active Death
                        Watch status, personally inventories and packs away all items he is
                        not permitted to retain. The inmate is permitted to retain a copy of
                        the inventory. The sealed property is retained in storage in Building 8
                        until ordered removed or surrendered to the inmate's designee.

                 4.     He is responsible for escorting the condemned inmate to Building 8
                        and placing him in a cell after strip searching, placing in BOSS chair,
                        and exchanging his clothing.

                 5.     He ensures that all significant information .is ·entered on . the
                        Supervisor's Lcig: ALL PERSONS ENTERING THIS AREA FOR ANY
                        PURPOSE WILL SIGN IN AND OUT and a record of activity must be
                        logged accurately.

                 6.     He ensures that sufficient clothing in the inmate's size is retained in
                        the preparation. area to accommodate exchange each time the
                        condemned inmate leaves his cell.




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        B.      Subordinate Personnel

                1.    He supervises all subordinate ·personnel

                2.    He ascertains the phone number and address of all subordinate
                      personnel in order that they may be contacted after hours.

                3.    He ensures that all orders and instructions are read and understood
                      by all subordinate personnel.

        C.      Routine Security Measures, Checks, Logs

                1.    He maintains cir causes to be maintained (by Control Officer) a
                      "Supervisor's Log" of activities.

                2.    He personally supervises the feeding of all meals during his shift. He
                      ensures that no inmates are utilized in the feeding of any meal during
                      an active Death Watch, including preparing the trays.

                3.    He keeps all unauthorized personnel out of the area.

                4.    He ensures tha,t the security of the area is reported to the Control
                      Room each half-hour during an active Death Watch.

                5.    He does not permit anyone to enter the condemned inmate's cell
                      except by order of the Warden, Associate Warden of Security, or Shift
                      Captain. The only exception is a life-threatening emergency.

                6.    He ensures that the condemned inmate is handcuffed from behind
                      anytime he leaves his cell. The inmate remains handcuffed until he is
                      returned to his cell. (The inmate may be handcuffed in front if a
                      restraint belt is used. Restraints may be removed if the inmate is .
                      secured in non-contact visiting room.)

                7.    Any time the inmate is moved, he will receive a double escort.

                8.    At least one (1) officer remains in. the area, even if it is temporarily
                      vacant.

                9.    He ensures that the area is kept clean and orderly. The inmate's
                      holding cell is cleaned daily by assigned staff. The inmate is moved to
                      an adjoining cell while the cleaning process is being accomplished.

        D.      Normally the inmate receives telephone calls from a special extension
                plugged in at his cell location. When not in. use, ensure its security and
                storage away from the cell.




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       E.       Emergencies and Other Contingencies

                l.    In the event. of self-inflicted or other injury, the Death Watch
                      Supervisor takes immediate and decisive action. He· contacts the
                      medical clinic immediately to send assistance.

                2.    He personally supervises the dispensing of any medication on a single
                      unit dosage basis.

                3.    He immediately notifies the Shift Supervisor, Associate Warden of
                      Security, or Warden in the event of an emergency.




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                                CONTROL MONITOR
1.      At the beginning of the Death Watch, the officer assigned to this post will assume
        his duties.

2.      This officer must be a Correctional Corporal or higher. The officer reports directly to
        the Death Watch Supervisor, Associate Warden of Security, or Warden at the
        beginning of pre-execution inonitoring until relieved or until the execution is stayed
        or carried out.

        A.      Immediate Action

                1.    Upon notification, the officer assumes the duties and responsibilities
                      as described herein _and the shift supervisor is alerted of the delegated
                      assignment.

                2.    The Control Monitor begins. maintenance of the Death Watch
                      Supervisor's log ensuring the recording of significant detailed
                      information.

                3.    During pre-execution monitoring, the Control Monitor ensures that
                      only the following persons are authorized to enter the area:

                      a.     Warden
                      b.     Associate Warden
                      c.     Captain/Lieutenant
                      d.     Officers to assist in routine functions (i.e., showers, escort,
                             shakedown) as authorized by Death W_atch Supervisor
                      e.     Any medical or security personnel deemed appropriate in an
                             emergency situation.
                      f.     Prison Chaplain
                      g.     Commissioner
                      h.     Deputy Commissioner of Operations
                      1.     Assistant Commissioner of Prisons
                      J.     General Counsel

                4.    He ensures the cleanliness of the area as well as the cell area during
                      pre-execution monitoring.

        B.      Routine Security Measures, Security Checks, and Logs_

                1.    He keeps an accurate chronological log of post activities.

                2.    He keeps a sign-in and sign-out log for every person who enters or
                      leaves the Death Watch area.

                3.    He maintains close surveillance of subordinate personnel.




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                4.     He keeps all unauthorize.d personnel out of the area to include
                       inmates, other employees and visitors.

                5.     He reports the security of the post to the Control Room every thirty
                       minutes.

                6.     He personally ensures that the condemned inmate is handcuffed
                       (behind his back) anytime he teaves his cell. A restraint belt may be
                       used. The handcuffs may be removed when the inmate is receiving
                       non-contact visits.

                7.     He ensures that when a condemned inmate is moved, he is escorted by
                       two officers designated by the Death Watch Supervisor.

                8.     He ensures that when the condemned inmate is moved from his cell,
                       he is searched and placed in different clothing. The same clothing
                       may be reused until soiled, so long as it is thoroughly inspected before
                       reissuing.

        C.      Visiting

                1.     He ensures that all visiting is non-contact and is held in the visiting
                       area next to the control room, unless otherwise directed.

                2.     He ensures escorts for visiting during pre-execution monitoring are
                       provided by two experienced correctional officers assigned by the
                       Death Watch Supervisor.

                3.    He ensures that supervision of visiting for condemned inmates in pre-
                      execution monitoring is designated by the Death Watch Supervisor.

                4.    He· ensures that an accurate log of pertinent information is
                      maintained by. the officer assigned to supervise visitation, to include
                      names of each visitor, time of arrival and departure of each visitor.

                       a.     The number of persons authorized and the visiting hours are in
                              accordance with specific instructions issued by the Warden or
                              Associate Warden of Security.

                      b.      Allowable commissary items are listed in Section E.

        D.      He ensures that the inmate is allowed only the items listed below. Any other
                item is considered contraband and confiscated in accordance · with
              · institutional policy.

                1.    Standard issue of outer clothing.

                2.    One bed



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                3.      One mattress, pillow, and standard issue oflinens

                4.      One toothbrush

                5.      One tube of toothpaste

               6.       One bar of soap

                7.      One electric razor (to be issued and used under direct superVIs10n
                        only)

               8.       Two towels, one washcloth

               9.       Two pair of shorts and t-shirts (male inmates). Two pairs panties and
                        bras (female inmates). Underwear will be exchanged daily.

                10.     Toilet tissue as needed

                11.     Stationery - 12 sheets, 3 stamped envelopes, 3 pencils (Pencils will be
                        in possession of officer when not in use.)

                12.     Religious tracts as issued by Institutional Chaplain

               -13.     Legal documents, books and papers as requested

                14.     Medication prescribed by institutional doctor (to be issued and used
                        under direct supervision only)
                15.     One walkman type radio (state owned)

                16.     One television outside door in front of cell (state owned)

                17.     Newspapers as requested and available (no more than two in cell at a
                        time)

                18.     Feminine hygiene items as necessary and appropriate

       E.      The inmate may order and purchase the following items on the first day of
               Death Watch status:

                L       Colas (opened by officer and served in a paper cup)

                2.      Candy bars

               3.       Cookies, crackers, potato chips

                Note:   All orders and deliveries are inspected and delivered by the officer.
                        This includes removal of non-transparent candy wrappers. He avoids
                        handling of contents except· with a napkin, tissue, or sanitary
                        disposable gloves.



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        F.      Telephone Calls

                1.     The condemned inmate may receive authorized telephone calls ·while
                       in pre-execution monitoring status.

                2.     Specific instructions for each phone call are given by the Warden,
                       Associate Warden of Security or Death Watch Supervisor, and are
                       logged (no exceptions). Each phone call is supervised.

                3.     The inmate receives telephone calls from a special extension plugged
                       in at his cell location. When the telephone is not in use, the Control
                       Monitor personally ensures its security and storage away from the
                       cell.

        G.      Emergencies and Other Contingencies

                1.     If any employee is taken hostage, he is without authority regardless of
                       rank.

                2.     In the event of self-inflicted or other injury to the inmate, the Control
                       Monitor takes immediate and decisive action. He contacts the medical
                       clinic immediately to send a physician or ranking medical person if he
                       is not available.

                3.     The Control Monitor immediately notifies· the Warden, Associate
                       Warden of Security, Death Watch Supervisor and Shift Supervisor.




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                           FLOOJR OFFICER MONITOJR
1.      The duties and resp.onsibilities of this post are in the direct supervis10n and
        monitoring of a condemned inmate's activities during the final days of pre-execution
        monitoring.

2.      This officer may be a correctional officer or higher. The officer reports directly to the
        Control Monitor. The officer is posted in the area directly in front of the cells. He
        must remain alert on his post at all times, maintaining direct' observation of the
        condemned inmate.

3.      Equipment required: radio with holster and restraints

4.      Specific Duties and Responsibilities

       · A.    Immediate Action

               Upon notification, the officer assumes the duties and responsibilities a:s
               described herein and the shift supervisor is alerted of the delegated
               assignment.

        B.     Routine Security Measures, Security Checks and Logs

               1.      The Floor Officer Monitor closely observes the condemned inmate's
                       activities and immediately reports to the Death Watch Supervisor or
                       Control Monitor· any unusual circumstances_ or activities.

               2.       He ensures that all eating utensils and trays are removed from the
                      · cell when not in use ..

               3.     He remains posted at the cell front, but ·may enter the condemned
                      inmate's cell with the assistance of a second officer if circumstances
                      warrant it.

               4.     The cell door key(s) remains in the possession of the Control Monitor
                      except as need~d.

               5.     He converses freely with the inmate, but' avoids opinionated or
                      inflammatory statements. He· does not discuss personal feelings
                      regarding the death penalty. He does not make promises to the
                      inmate. All requests by the inmate not covered herein will be referred
                      to the Death Watch Supervisor.

               6.      He does not leave his post uriless properly relieved.

               7.      He Visually inspects and thoroughly examines all items permitted into.·
                       or out of the inmate's cell. He carefully examines all clothing sent
                       from the clothing room.



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                8.    He performs a very thorough strip search of the condemned inmate
                      any time he enters or exits his cell.

                9.    He exchanges the inmate's clothing any time he enters or exits the
                      cell. The same clothing may be reused until it becomes soiled.

                10.   He ensures that the condemned inmate is handcuffed behind his back
                      any time he leaves his cell. The inmate remains handcuffed until he is
                      returned to his cell. The inmate may be handcuffed in front if a
                      restraint belt is used. Restraints may be removed if placed in a
                      secure, non-contact visiting room.

                11.   He ensures that all post orders are being followed. It is expected that
                      all Floor Officer Monitors conduct themselves in a professional
                      manner. A calm, mature atmosphere should be' maintained.

                12.   The officer is responsible for the daily cleanliness of his area and the
                      cell areas. Normally, the day shift is responsible for sweeping and
                      mopping the entire area: However, the officer ensures that the area
                      remains in a state of cleanliness and trash containers are emptied
                      during his tour. All trash is to be personally removed by staff and
                      deposited in the appropriate containers located . outside the. secure
                      confines of the institution.

                13.   He maintains or causes to be maintained (by the Control Officer) a
                      Supervisor's Log of Activities.

                14.   He personally supervises the feeding of all meals during the shift. He
                      ensures that no inmates are utilized in the feeding of any meal during
                      an active Death Watch, including preparing the trays.

                15.   He keeps all unauthorized personnel out of the area.

                16.   When the inmate on Death Watch is female, the Floor Officer Monitor
                      ensures that a privacy screen is used to shield the inmate from sight
                      of male staff and visitors while she is showering, using the toilet or
                      changing clothing.




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             DEATH WATCH PROCEDURES - ELECTROCUTION

                                               DAYI
   L        Security staff are assigned to posts in the Death Watch area. The supervisor is a
            Correctional Lieutenant or higher.

  2.        Death Watch logs are activated during the entire Death Watch period. All activity
            unique to the Death Watch and execution must be documented. Areas addressed
            include, but are not limited to: inmate's behavior, actions, movements,
            communications initiated and received concerning Death Watch activities.

  3.        The condemned inmate is moved to Death Watch status in Building 8.

 ·4.        The inmate's property is inventoried and stored as specified in TDOC Policy #504.02.

  5. ·      The institutional chaplain begins daily visits with the inmate.

  6.        The visiting status of the inmate changes to non-con.tact .

. 7.        Designated personnel test all execution-related equipment to include closed circuit
            TV, telephones, intercoms, etc.

  8.        Designated electrician tests all execution equipment to include the emergency
            generator.

  9.        Inmate clothing is obtained and issued as needed.

   10.      The Chaplain requests instructions for release of the inmate's body in writing. If no
            recipient is designated, the Warden arranges for a pauper's burial.

                                               DAY2
.. ·1.      The Food Service. Manager is advised of meal needs for TDOC and other agency
            support staff.

   2.       The inmate orders his last meal.

   3.       The Chaplain confirms funeral arrangements with the family, if available.

                                 DAY 3 - EXECUTION DAY
   1.       ITS personnel test the closed circuit TV systeII1 and audio system.

   2.       The Facility Maintenance Supervisor tests all execution equipment.

   3.       The Food Service Manager prepares and serves the last meal. The inmate may



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          request a special meal. The meal is provided within reason as determined by the
          Warden. The cost must not exceed $20.00.

· 4.      The Facility Maintenance Supervisor makes up the sodium chloride solution and
          saturates the sponges.

 5.       The Director of Communications and Public Relations arrives to handle media
          inquiries.

                           DAY 3 - EVENING SCHEDULE

 5:00 pm
 1.       By prior planning, the Execution Team arrives and reports directly to the
          Executioner waiting area in Building 8. Their identities will be known by the fewest
          number of staff necessary.

 2.       Beginning at 5:00 pm, the only staff authorized in the capital punishment unit are:

          a.     Commissioner or designee
          b.     Warden
          c.     Associate Warden
          d.     Electrocution recorder
          e.     Death Watch Supervisor and assigned officers
          £.     Chaplain
          g.     Physician and associate
          h.     Executioner (Executioner waiting area)
          L      Extraction Team

                 Any exceptions to the above must be approved by the Warden or
                 Commissioner.

 3.      The inmate is dressed in cotton trousers, shirt, cotton socks, or cloth house shoes.
         Trousers and shirt are to be without any metal.

 4.       Official witnesses report to the Administration Building conference room no -later
          than 5:30 pm. They are greeted by Escort Officers, processed through checkpoint,·
          and moved to the Parole Board Room in Building 8, where they remain until final
          movement to the witness room.

 5.       Immediate family members of the victim report to the Administration Building no
          later than 6: 15 pm and are greeted by Escort Officers. These witnesses are securitY
          cleared and escorted to the conference room in Building 8, .where they remain until
          final movement to the victim family members witness room.

 6.       The Electrocution Recorder or designee, the physician, and the designated
          electricians report to the Execution Chamber for preparation. The Electrocution




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           Recorder or designee checks the phones in the Execution Chamber. The electrician
           prepares the equipment and the physician stands by in the designated waiting area.

7.         The Medical Examiner's staff      and the physician are stationed in the capital
           punishment garage.

8.         The Associate Warden of Security coordinates the shaving of the condemned
           inmate's head and legs.


6:30 pm
        1. Victim family member witnesses are secured in the Building 8 conference room by
           the Escort Officers no later than 6:45 pm.

        2. Official witnesses are secured in the Building 8 Parole Board Room by the Escort
           Officers no later than 6:45 pm.

7:00 pm
1.        ·Beginning at 7:00 pm, the only staff authorized to be in the Execution Chamber are
           the Warden, those TDOC employees designated by him to carry out the execution,
           the Attorney Generalldesignee and the Defense Counsel witness.

2.         At the command of the Warden or Associate Warden of Security, the Extraction
           Team approaches the holding cell and asks the condemned inmate to approach the
           cell door and be handcuffed. After being handcuffed, he is asked by the Extraction
           Team Leader to kneel on bed with head against the wall. (If the condemned inmate
           refuses to cooperate, the Extraction Team enters the holding cell and removes the
           inmate).

3.         The Extraction Team escorts the condemned inmate to the electric chair m the
           Execution Chamber.

4. ..      The Extraction Team prepares and secures the inmate in the chair with the electric
           chair harness and wrist straps. Four (4) saturated ankle sponges are taken from the
           container.. The sponges are placed in the front and rear of each ankle and secured
           with the straps.

5.         The Electrocution Recorder or designee records the time the condemned inmate
           enters the Execution Chamber.
                                                                    \
6.         Official witnesses and victim family members are secured in the appropriate witness
           rooms.

7.         The Attorney General/designee and the Defense Counsel witness will exit the
           execution chamber and be secured in the official witness room.




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8.       The closed circuit television camera and audio system are activated.

7:10 pm
1.       Blinds to the witness room(s) are opened by the Warden and Associate Warden of
         Security.

2.       The Warden contacts the Commissioner to ensure that no last minute stay or
         reprieve has been granted.

3.       The Warden permits the condemned inmate to make a last statement.

4.       The Extraction Team takes one sponge from the container and places it on top of the
         inmate's head. The head piece is then secured on the head with two side straps and
         a chin strap. A shroud is then snapped in place around the head piece.

5.       The Executio11 Team adds salt brine solution to the ankle sponges using a water
         bottle prior to exiting the Execution Chamber. The Facility Maintenance Supervisor
         checks the electrodes to ensure that they are properly attached.

6.       The Assistant to the Facility Maintenance Supervisor proceeds to the electrical
         utility room to prepare and activate the primary disconnect box and ensures the
         secondary disconnect box is ready in the Executioner's Electrocution room.

7.       The Warden gives the signal to proceed and the Executioner activates the electrical
         console in accordance with steps outlined in Section 4 of the manual. The
         Electrocution Recorder or designee records the time the process begins.

8.       Once the cycle runs its course, the Facility Maintenance Supervisor indicates that
         the current is off. The· Electrocution· Recorder or designee records the time the
         current is disengaged.

9.      Following the completion of the electrocution process, and a five-minute waiting
        period, all blinds are closed, the closed-circuit TV camera is disengaged, and the
        privacy curtain is drawn. The Facility Maintenance· Supervisor ensures the
        secondary power supply is turned off and disconnects the electrical cable from the
        junction box in the rear of the chair. The Warden then asks the Physician to enter
        ·the room to conduct an examination. The Physician reports his findings to the
        Warden or designee.

10.      The inmate is pronounced deceased by the Physician. The Electrocution Recorder or
         designee records the.time that death is pronounced.

11.      The Warden or designee announces that· the sentence has been carried out and
         invites the witnesses to exit. The Warden announces the following: "The sentence of_
         ~~~~~~~~~~~~
                                        has been carried out. Please exit."




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12.     The witnesses are then escorted from the witness rooms by Escort Officers. After the
        witnesses exit, the Warden or designee notifies the Commissioner that the sentence
        of death has been carried out.

13.      The Commissioner or designee notifies all appropriate State officials that the
         sentence has been carried out. Media is notified by the TDOC Director of
         Communications and Public Relations or designee.

14.     The Extraction Team removes the restraints.

15.     The Medical Examiner staff assists in removal of the body and placement in the
        Medical Examiner's vehicle, which is in the capital punishment garage.

16.     The Medical Examiner's vehicle is cleared to exit the facility.

17.     The Electrocution Recorder completes the Electrocution Execution Recorder
        Checklist




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                               POST EXECUTION

L      The body is transported to the State Medical Examiner for examination and release.

2.     The Assistant Commissioner of Prisons conducts an operational debriefing at the
       appropriate time.

3.     The Commissioner arranges for or mandates an Employee Assistance Program
       (EAP) debriefing as needed.




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                               CONTINGENCY ISSUES

Repeating the Electrocution Process

If the inmate is not deceased after the initial electrical cycle, the Physician returns to the
designated waiting area. The curtain is opened, blinds raised, camera activated, and the
Warden gives the command to repeat. the electrocution procedure. After this procedure is
completed, the blinds are once again closed, closed-circuit TV camera disengaged, and the
privacy curtain drawn. The Warden will once again ask the Physician to enter the room and
check for signs of life.



A fire extinguisher is.located in the building and is near the electric chair as.a precaution.

Electricians

RMSI has 2 qualified electricians that serve as reserves if either the Facility Maintenance
Supervisor or his assistant is unable to perform their duties.

Malfunctioned Transformer

The reserve manual transformer is kept in the storage room. It is used only if the stationary
console or transformer is inoperable within a 23 hour period of the scheduled execution.




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                                     ·VICTIM SERVICES




               ....",
,-   ''.




                        RIVERBEND MAXIMUM SECURITY INSTITUTION




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                                VICTIM SERVICES
Notification

The TDOC Victim Service Director works closely with the victim liaison from the Attorney
General's office to confirm the list of victims/family members/interested parties registered
for notification. Letters and packets are sent to each. The letter is specific to the
registrant's permission to view the execution, as mandated by law:

   •   Victim family members: Those who are permitted .to witness the execution. These
       persons receive a letter, requesting their choice .to witness or attend the execution.
   • Other victim family members: Extended family members who may wish to attend
     . the execution to provide support to those who are permitted to view the execution,
       but by law, are not personally allowed to view the execution.
   • Other interested party/support persons:           Persons identified by victim family ·
       members who would attend the execution to provide support to those who are
      permitted to view the execution, with permission granted on a case-by-case basis by
       the Warden.

Packets include:
   • · Cover letter
   • Official letter
   • Official response forms
   • Copy ofT.C.A. §40-23-116 Manner of executing sentence of death -- Witnesses
   • DVD "The Other Side of Death Row"
   • Booklet "What to Expect at an Execution"
   • Map
   • Media guidelines
   • Critical Incident Stress Management flier

These notifications are sent out to correspond in time· to the announcement of the media
lottery.                                  · ·

The Victim Services Director prepares a list of persons who plan to witness the execution,
and of those who plan .to attend the execution. The Victim Services Director will
communicate any desire to speak to the media to the TDOC Director of Communications
and Public Relations.

Accompaniment

The facility provides a private room in the Administration Building for persons viewing and
attending the execution to use. Those witnessing or attendingthe execution are brought to
the facility by the Attorney General's Office at a time agreed upon by TDOC Central Office
and the Warden. The Victim Services Director meets them at the·facility and escorts them
to the private room. Thi.s room provides a place for witnesses to leave belongings and for
attendees to wait for the return of the witnesses.




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The Victim Services Director will accompany witnesses through the execution process. A
designee will be assigned to remain and wait with any persons who accompany and wait in
the Administration Building for witnesses to return.

At the time determined by the Warden/designee, the witnesses are processed through the
check-point and taken into the prison facility room(s) next to the visitor galley, where they
will remain until escorted into the victim's viewing room for the execution.

After the execution is completed, the witnesses are escorted back to the Administration
Building where they are reunited with any persons who were there waiting for them. The
TDOC Director of Communications and Public Relations will arrange for witnesses to speak
to the media should they desire to do so. Afterward, the entire group will be escorted out of
the prison to their awaiting vehicle.




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                                                                             FORMS




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                                                             RIVERBEND MAXIMUM SECURITY INSTITUTION




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                                                                                                          Attachment 1
    NOTIFICATION LETTER TO SHERIFF'S OFFICE TO WITNESS EXECUTION OF
                                INMATE




                                        STATE OF TENNESSEE
                                  DEPARTMENT OF CORRECTION
                            RIVERBEND MAXIMUM SECURITY INSTITUTION
                                 7476 COCKRILL BEND BOULEVARD
                                 NASHVILLE, TENNESSEE 37243-0471
                            TELEPHONE (616) 360-3100 FAX (616) 360-3400


Date


John Doe, Sheriff
Tennessee County Sheriffs Department
PO BoxOOO
City, TN 37209

Dear Sheriff Doe:

Records of the Tennessee Depar_tment of Correction ·reflect that on                      , inmate
------~~----was convicted               of First Degree Murder and sentenced to Death regarding
--~~-~--- County case # .                          An order has been received scheduling inmate
---~~-----'s execution for                                The execution is scheduled for 7:00 p.ni.
CST on that date.

Pursuant to TCA 40-23-116, the sheriff of the county in which the crime was committed is entitled to
be present at the carrying out of such death sentences.

The Tennessee Department of Correction needs to know if you are interested in viewing the legal
execution of inmate                          . In order to expedite this process, please sign and date
on the respective line. below indicating your intentions. Afterwards, fax the letter with your
signature to my office at the ·Riverbend Maximum Security Institution at 615-350-3400. If you plan
to attend, provide a, telephone number where you may be contacted day or night. Further, you
should. be at the .. Riverbend Institution by 5:30 pm .on                              and bring your
notification letter with you, along with a picture ID. Upon arrival at the facility, please present the
letter to ·the Checkpoint Officer. ·Ifyou have any questions regarding this matter, please foe! free to
contact me by calling 615-350-3100, extension 3103, for further information.


Warden

ABC:aa

I will attend.                   Signature. _ _ _ _ _ _ _ _ _ __ Date
                                 Telephone No. _ _ _ _ _ _ _ __

I will not attend.               Signature                               Date
                                 Telephone No. _ _ _ _ _ _ _ __



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             NOTIFICATION LETTER TO INMATE'S FAMILY TO WITNESS
                                EXECUTION




                                       STATE OF TENNESSEE
                                 DEPARTMENT OF CORRECTION
                            RIVERBEND MAXIMUM SECURITY INSTITUTION
                                 7476 COCKRILL BEND BOULEVARD
                                 NASHVILLE, TENNESSEE 37243-0471
                            TELEPHONE (616) 350-3100 FAX .(616) 360-3400

Date

Ms. M'ary Jane Smith
PO BoxOOO
City, TN 37209

Dea·r Ms. Smith:

Records of the Tennessee Department of Correction reflect that on                      , inmate
____________ was convicted of First Degree Murder and sentenced to Death regarding
_ _ _ _ _ _ _ _ Connty case #                    An order has been received scheduling inmate
----~--~--'s execution· for                            . The execution is scheduled for 7:00 pm
on that date.

Pursuant to TCA 40-23-116, members of the condemned inmate's immediate family may be present
at the carrying out of such death se.ntence. Records indicate that you are the __________
of inmate                          ;. therefore, you are eligible to be present.

The Tennessee Department of Correction needs to know if you are interested in viewing the legal
execution of inmate                          , In or.der to expedite this process, please sign and date
on the respective line below indicating your intentions.- Afterwards, fax the letter with your
signature to my office at the Riverbend Maximum Security Institution at 615-350-3400. If you plan
to attend, provide a telephone number where you may be contacted day or night. Further, you
should be at the Riverbend Institution by 5:30 pm on                                   and bring your
notification Jetter with you, along with a picture ID. Upon arrival at the facility, please present the
letter to the Checkpoint Officer. If you have any questions regarding this matter, please feel free to
contact me by calling 615-350-3100, extension 3103, for further information.


Warden

ABC: aa

I will attend.                   Signature                               Date _ _:____ _ __
                                 Telephone No.

I will not attend.               Signature                               Date
                                 Telephone No.



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                                                                                             Attachment 1
              ELECTROCUTION- CHRONOLOGICAL EXECUTION REPORT


NAME OF INMATE: - - - - - - - - - - - - · I N M A T E # _ _ _ _ __

                                                                        TIME     TIME


1.      Inmate entered Execution Chamber


2.      Restraints in place on inmate


3.      Electrical Console engaged


4.      Electrical Console disengaged


5.      Visible muscular movement stopped


6.      Examined by physician


7.      Pronounced dead


8.      Body removed from Execution Chamber


9.      Body removed from institution




        Electrocution Recorder                                            Date



               Warden                                              Date



NOTE: If any step is repeated, the additional times will be recorded.




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                                                                                  Attachment 1
   DAY OF EXECUTION - ELECTROCUTION EXECUTION RECORDER CHECKLIST


Inmate Name      -----------~
                                                  Inmate#- - - - - -

Date _ _ _ _ _ __

  TIME

                      Report to designated area for final briefing

                      Extraction Team report to Death Watch Supervisor for final briefing

                      Physician in place

                      Medical Examiner in place

                      Team Leader in place

                      Check blinds and curtains

                      Advise Escort Officer to transport Official Witnesses to Parole Room

                      Advised. by Escort Officer that Official Witnesses are in Parole Room

                      Advise Escort Officers
                                        .
                                             (2) to' escort Victim's Witnesses to Viewing
                                                                                  .
                                                                                          Room

                      Advised by Escort Officers (2) that Victim's Witnesses are in place

                      Warden or designee checks to ensure execution is to proceed

                      Extraction Team enters cell and places restraints on condemned inmate

                      Advise Escort Officer to transport Official Witnesses to Death Watch

                      vestibule

                      Advised by Escort Officer that Official Witnesses are in the vestibule

                      Offender. is secured in the chair and all restraints are in place

                      Advise Escort Officer to "Transport Official Witnesses in place"

                      Advised by Escort Officer that "Witnesses are in place"

                      Warden checks with Command Center to proceed


                                                                 Recorder's Initial - - - -


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                                                                                          Attachment 1
DAY OF EXECUTION - ELECTROCUTION EXECUTION RECORDER CHECKLIST
(continued)
Inmate Name ____________ lnmate # _ _ _ _ __
Date_ _ _ _ _ __

  TIME
                      Warden orders blinds opened, closed circuit TV activated;and audio
                      activated for viewing rooms

                      Warden asks offender for any last comments

                      Warden orders Execution Team to proceed

                      Head piece and shroud is placed on the condemned inmate and the
                      electrical cable is connected.

                      Warden orders Execution Team to proceed

                      Electrocution process is completed

                      Blinds and curtains closed and closed circuit TV deactivated

                      Physician enters the Execution Chamber

                      Physician pronounces death - exact time

                      Audio deactivated to witness rooms

                      Advise Escort Officers (2) to remove Victim's Witnesses

                      Advise Commissio.ner or designee in Command Center that execution is
                      completed

                      Physician departs

                      Medical ·Examiner escorted to chamber to take possession of body.
                      Pictures will be taken of body and Execution Chamber prior to removal of
                      body

                      Advised by Escort Officer (2) Victim's Witnesses are at Checkpoint

                      Advise Escort Officer to remove Official Witnesses

                      Advised by Escort Officer that OfficialWitnesses are at Checkpoint

                      The body is removed from the institution


                                                            Recorder's Initial _ _ __


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  DAY OF EXECUTION - ELECTROCUTION EXECUTION RECORDER CHECKLIST
                             (continued)


Inmate Name,_ _ _ _ _ _ _ _ _ _ _ Inmate#_ _ _ __

Date, _ _ _ _ _ __


Offender's Comments if any:




Electrocution Recorder                                   Date




Warden                                                 Date




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                                    State of Tennessee

                             DEPARTMENT OF CORRECTION

                                         News Release


The Department of Correction reports that pursuant to the order of the Tennessee
Supreme Court and in accordance with state law, the capital punishment sentence, of
- - - - - - - - - - - - has been carried out..

Time of execution was _____ am/pm on ___________
                                          (date)

                                                was prondunced dead by attending
                      (Inmate's name).            .,
physician at ----------~~ am/pm.




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                      Affidavit Concerning Method of Execution

 Under Tennessee law, you have the right to have your execution carried out by lethal injection. You
 also have the option of waiving this right and choosing electrocution as the method of your execution.
 The purpose ofthis affidavit is to allow you an opportunity to either waive your right to have your
 execution carried out by lethal injection or to decline to waive that right. Failure to complete this
 form will result in the execution being carried out by lethal injection. You will not be given another
 opportunity to waive your right to have your execution carried out by lethal injection. If you waive
 your right to have your execution carried out by lethal injection, you may rescind that waiver by
·contacting the Warden no later than 14 days nrior to the date of the execution and signing a
 new affidavit to that effect.



I, ---~-----~-~--' TDOC.# ____, make the following choice concerning the
method of my execution:

        _._ _. I waive the right to have my execution carried out by lethal injection and choose
                t6 be executed by electrocution.


                                                                   Signature ofinmate .


        .___ I have been given the opportunity to waive my right to have my execution carried
              out by lethal injection and I decline to waive that right.


                                                                   Signature of Inmate


I  certify that I  presented  this   Affidavit      Concerning              Execution     to    inmate
_ _ _ _ _ _ _ _ _ _ _ , TDOC N o . - - - , - - - - - - ' and

      ___ The inmate refused to sign .

      .___ I witnessed the inmate sign this affidavit.



                                                                   Signature of Warden/Designee



Sworn to and subscribed before me this ___ day      of-~------'             20__.


                                                                   Notary Public
My Commission expires __________




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                                            STATE OF TENNESSEE
                                     DEPARTMENT OF CORRECTION
                                     4" FLOOR RACHEL JACKSON BLDG.
                                         320 SDCTH AVENUE NORTH
                                     NASHVILLE, TENNESSEE 37243-0466




     APPLICATION FOR NEWS MEDIA REPRESENTATIVE
    TO ATTEND AN EXECUTION OF A SENTENCE OF DEATH

Name of Inmate Under Sentence of Death - - - - - - - - - - - - - - - - -

Name of News Media Outlet ---------~-------------

Name of News Media Representative

Mailing Address

                                                          Fax

E-Mail Address ----~---~-----------------

Indicate the news media pool to which the applicant news media agency is to be
assigned.

_ _ _ News Media· Agency (print, radio or television) in the county where
       the offense occurred (if print, also designate Metro or Community
       below)

_ _ _ Associated Press

_ _ _ Metro Print Media Agency

_ _ _ Community Print News Media Agency

_ _ _ Other Television News Media Agency

_ _ _ Other Radio News Media Agency

PLEASE NOTE: The department will accept only one (1) application from e~ch news media agency. A person
may be nained as a News Media Agency Representative on only one (1) application. No news media agency
representative selected to witness the execution of a sentence of death shall have exclusive rights to the story.




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Immediately after the execution. of the death sentence is complete, all media representative witnesses shall
make themselves available for a news conference for other news media representatives not selected to attend
the execution. Submission of an application constitutes acceptance of this condition.




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                                                         RULES
                                                            OF
                                              DEPARThIEl\'T OF CORRECTION
                                                ADULT SERVICES DIVISION

                                            CHAPTER 0420-3-4
                     SELECTION OF l\'EWS MEDIA AGENCY REPRESEl\'TATIVES TO ATTEND
                                 AN EXECUTION OF A DEATH SENTENCE

                                                     TABLE OF COl\'TENTS

     0420-3-4-.01                                                   0420-3-4-.04       Application and Selection Process
     0420-3-4-.02                                                   0420-3-4-.05       'W'itnesi; Guidelines
     0420-3-4-.03


     0420-3-4-.01 PREFACE

    . Under the authority ofT.CA §40-23-116. the DeP'II'lllent of Correction is authorized to promulgate rules that
      establish criteria for the selection of news media representatives to attend an execution of a sentence of death.

    . Aut/1oriJy: T.G.A. §40-23-116. Adn1U1istratit1e History•: Original rzdefiled J7Jly 28, 199fJ," Novembm-19, 1999.
      Repeal and new rukfiled Nuvember 22, 2000; effective February 6, 200/.

     0420-3-4-.02 APPLICABILITY

     !'umlaut to the authority ofTCA §40-23-116, these rules shall apply to all news media agencies and their
     lq)CCSentatives.

     AuthoriJy:. T.C.A. §40-23-J 16. Admi11istrative History: Original rule filed July 28, 1999; NIJW1'11ber 29, 1999.
     Repeal and new rukfiled Navember 22, 2000; effective February 6, 2001.

     0420-3-4-.03 DEFINITIONS

          , . (I)   Commuirity·Priut News Metlia Agency: A Priut News Metlia Agency other than a Metro Priut News
                    Metlia Agency.

             (2)    General Interest and Coverage: The handling of a broad range of spot news such as traffic accidents.
                    fires. disasters. governmental events, as well as economic, business, social. sports, and human interest:
                    news.

         · · (3)    Metro Print News Metlia·Agency: A Priut News Metlia Agency which mallitains a full-time presence
                    at the state Capitol, covering day-to-day operations of state government.

             (4)-   News Metlia Agency A Priut, Radio or Television News Metlia Agency or The Associated Press.

             (5)    News Metlia Agency ~live: A peraon Regularly Employed by a News Me<lia Agency and
                    designated~ by such News Media Agency to attend an_d witness an execution of a death sentence on
                    behalf of the New Metlia Agency.

             (6)    Print News Me<lia Ageno/ A newspaper of general circulation, bearing a title or               name,regularly
                    issued at -least illS frequently as once a week for a definite price. having second clas.s mailing privilege,
                    being not less than foUI' (4) pages, published continuously during the immediately precetliog one..yeat
                    period,. which is published for the dissemination "of news of general interest, coverage and circulation
                    in an area within Tennessee.




     February, 2001 (Revised)                                 I




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     SELECTION OF NEWS MEDIA AGENCY REPRESENTATIVES                                                    CHAP1ER 0420-3-4 ·
     TO ATTEND AN EXECUTION OF A DEATII SENTENCE

     (Rule 0420-3-4-.03, continued)

           (7)     Radio Nev.<s Media Agency: The Tennessee Radio Network or a radio broadcast station \\'hich
                   regularly disseminates news of general interest and coverage and has either its       o'ty of license (as
                   determined by the federal government) or broadcast transmitter located in Tf!flnessee.

           (8)     Regularly Employed: Employed on a consisti::nt. contiuuing basis and not solely for the purpose of
                   witnessing an execution of a sentence of death or othen.vise on a temporary or short-tenn basis.

           (9)     Television News Media Agency_ A television broadcast sta_tioo which regularly disseminates news of
                   general interest and coverage and has either its city of license (as determined by the_ federal
                   government) or broadcast transmitter located in Tennessee.

           ( 10)   Warden: Warden of die Riverbend Maximum Security Institution._

     A111iloril]•: T.C.A. § 40-23-115; §   40~23-116.   Atlruinistrativ~   HiUory: Original nt/'1.filfld November 22, 2000;
     effective February 6, 2001.

     0420-.4-.04 APPUCATION AND SELECTION PROCESS
           (1)     The selectiOo of News Media Agency Repn:seotati1tfis shall be by drawing to be held at Riverbend
                   Maxllnum Security Institution. 7475 Cockrill Bend Industrial Road. Nashville, Tennessee.

           (2)     The Public Information Office of the Department of Conection shall notify all News Media Agencies
                   of a scheduled-drawing through issuance of an "advisoty to the Associated Press. An announcement
                   will also be published in-the Tennessee Administrative Register; provided, however, in the event the
                   Department bas :insufficient advance notice of an execution ~te to meet publication deadlines foc the
                   Tennessee Administrative Register, the annOW1cement sh.all be is5Ued as soon as practicable after the
                   Dqw1mcot receives ootice of the execution date.

           (l)     The advisory and mnouncement shall include lhe followiogc

                   (a)   Deadline date. time and location for receiving applica.tions from a News Media Agency desiring
                         to be included in the open drawing to witness the execution of the death sentence.

                   (b)   Date. time. and location whme the open drawing will take place.

           (4)     To be eligible for the drawing. a News Media Agency shall submit an application on a form provided
                   by the Department of Correction on oc before the deadline specified in the advisory and/or notice. The
                   applic:ant agency Shall designate its News Media Agency ~tative and the news media pool for
                   which it qualifies unde.- these rules. The Department will accept only one (I) application from each
                   News Media Agericy. A person may be named as a NewS Media Agency Representative on only one
                   (I) -lication.

          · (5)    The Warden or- designee shall as.sign an identifying mnnber to each application received. Prior to lhe
                   commencement of the drawing the Warden or des:ignee shall post a list containing the News Media_
                   Agency r;i.ame, ·News Media Agency Rrpresentativc name, nnmbcr and assigned category of each
                   application which meets the :requirements set forth in this rule. ·

           (6)     Procedure foc Drawingo

                   (a)   From· those applications received which meet the c:equircments set forth in this rule, a total of
                         seven (7)'"News Media Agencies shall be se.lected.. The agencies shall be selected from the
                         following categories in the folloWing order.                                                     ·

                         J_     The Associated Press (ooe application);



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          SELECTION OF NEWS MEDIA AGENCY REPRESENfATIVES                                                    CHAPTER 0420-3-4
          TO ATTEND ANEXEClJITONOF ADEATil SENTENCE

          (Rule 04W-3-4-.04. continued)


                              2.      One News Media Agency in the c:oWity where the offense occurred;

                              3.      One Metro Print News Media ·Agency;

                              4.      ·One Connnunity Print N~vs Media Agency;

                              5.      Two Televisioo News Media Agencies; and

                              6.      One Radio News Media Ageocy.

                        (b)   In the event more than one qualifylng application is received for category (a)(ii), the
                              applications not selected in that category shall be reassigned to appropriate categories.

                        (c)    If one or more categories cannot be filled due to· an insufficient oumbec of qualifying
                              ·applications in the category. qualifying applications remaining after all othei- selections have
                               been made shall be coµibined into one selection pool from which an application shall be drawn
                               to fill each unfilled position.

                        (d)   After·.seven (7) News Media Agency Representatives have been selected through the process set
                              out in (a) through (c), all remainillg applications shall be combined into one selection pool from
                              which a first altemate and a S«Ood altcmale shall be dra"-'D... Alternates shall be allowed. in
                              order of selection. tO substitute for a News Media Agency Representative selected as a witness
                              who is unable to attend and witness the execution of a death sent.euce

                (7).    Aftec the drawing the Department of Correction shall promptly issue an advisory to the Associated
                        Press identifying the News Media Agency Representatives selected.

                (8) ' News Media ·-Agency Representatives shall be subject to the approval of the Warden.. The Warden
                      [nay,.in the.Warden's discretion. disapproVe or C1iclude a witness for [N50JlS of safety or security. No
                      News .Media ·Agency Representative shall be related to the condemned prisoner or die condemned
                      prisoner's, victim or victims or have any persooal-int.erest in the case. News Media Agency
                      Representatives must be eighteen (18) years of age or older.

                 (9)· ' The Department of Correction will. allow no substitution of News Media Agencies .or News Media
                        Agency Representatives.

                 (10)   In the event.the execution does not take place within one (1) ~ of the date of lhe drawing. the
                        Commissi.o;ner. in the Commissioner's sole discretion. may cancel the result of a drawing and, if
                        tiecessary. direct that a new drawing be held

          A11t/1ority: T.C..A.. § 46-23-116.   Adn1i11istrative History:   Original rule filed November 22, 2000; qfecfiwl
          February 0, 2001.

          042~-3-4.-05 WITNESS GUIDELINES

                 (1)    No News-Media Agc:ocy Representative allowed to witness the execution of a death sentence shall
                        have exclusive rights to the story. Immediatefy after the execution of the death sentence is complete,
                        all News. Media Agency Representatives shall make themselves available for a news conference of
                        othcc news.mod.ia representatives and shall remain at the news conference until it is completed

                 (2) . The news confCRDce shall be held at a location designated by the warden immediately following the
                       exec:ution.




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          TO ATTEND AN EXECllTION OF A DEATH SENTENCE

          (Rule 0420-3-4-.05. oonrinued)

                (3)    Photographic or recording equipment ace prohibited at the. execution site during the execution.

                (4)   NC\\.'S Media Agency Repicsentatives shall 11bide by all departmental and institutional rules and
                      policies, and the direc.tives of authorized staff. Failwe of a witness to do so may result in the witness
                      being excl~ and /or removed from the. premises. The News Media Agency Representative and the
                      News Media Agency being represented shall be ineligible to atteod future executions without the ·
                      specific approval of the Commissioner.

          Authority: T.C.A.. § 40-23-110.     Ad111i11isira/We Kistory:   Original nde filed November 22, 2000;          effective
          Ftlbruary 6, 2001.




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                Affidavit to Select Defense Counsel Witness to Execution


Under Tennessee law, TCA 40-23-116, you may select one (1) defense counsel to witness
your scheduled upcoming execution. The Department of Correction needs to know who you
are selecting to be your witness.




I,                                              TDOC#                          select   the

following defense counsel witness:



                                      Signature of Inmate                     Date




I certify that I presented this Affidavit to Select Defense Counsel Witness to Execution to
inmate



        _ _ _ The inmate refused to sign.

        _ _ _ I witnessed the inmate sign this affidavit.



                                      Signature of Warden!Designee           Date



Sworn to and subscrib.ed before me this _ _ _ day of _ _ _ _ _ _ _ _~ 20_ _ __

                                      My Commission expires - - - - - - - - - -
Notary Public




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